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            IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                8:05CR294
                              )
          v.                  )
                              )
FRANCISCO ROBLES,             )                   ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on the motion under 28

U.S.C. § 2255 to vacate, set aside or correct sentence by a

person in federal custody (Filing No. 176).              The Court finds

plaintiff should respond to said motion.              Accordingly,

           IT IS ORDERED that plaintiff shall have until September

26, 2008, to file a response to defendant’s motion.

           DATED this 11th day of August, 2008.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
